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                     Exhibit A
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                                           Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 3 of 49 PageID #:10
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                                           Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 4 of 49 PageID #:11
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                                           Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 5 of 49 PageID #:12
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                                           Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 6 of 49 PageID #:13
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                                           Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 7 of 49 PageID #:14
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                                           Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 8 of 49 PageID #:15
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Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 11 of 49 PageID #:18




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Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 13 of 49 PageID #:20
Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 14 of 49 PageID #:21




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Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 15 of 49 PageID #:22
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Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 17 of 49 PageID #:24




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Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 18 of 49 PageID #:25
                                            Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 19 of 49 PageID #:26

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Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 21 of 49 PageID #:28
                                            Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 22 of 49 PageID #:29

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                                            Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 23 of 49 PageID #:30
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                                            Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 24 of 49 PageID #:31
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Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 25 of 49 PageID #:32

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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 27 of 49 PageID #:34
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Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 28 of 49 PageID #:35
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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 30 of 49 PageID #:37

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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 31 of 49 PageID #:38
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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 32 of 49 PageID #:39
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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 33 of 49 PageID #:40
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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 34 of 49 PageID #:41
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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 35 of 49 PageID #:42
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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 36 of 49 PageID #:43
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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 37 of 49 PageID #:44
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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 38 of 49 PageID #:45
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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 39 of 49 PageID #:46
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                                             Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 40 of 49 PageID #:47
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Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 41 of 49 PageID #:48
Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 42 of 49 PageID #:49




                      Exhibit B
Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 43 of 49 PageID #:50
Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 44 of 49 PageID #:51
Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 45 of 49 PageID #:52




                      Exhibit C
        Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 46 of 49 PageID #:53



                                                                                            BUSINESS INFORMATION
                                                                                                HOLLI SULLIVAN
                                                                                          INDIANA SECRETARY OF STATE
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Business Details
            Business Name: UNITED TRANSPORT INC.                                    Business ID: 2008041600228
               Entity Type: Domestic For-Profit Corporation                      Business Status: Active
            Creation Date: 04/16/2008                                              Inactive Date:
                              3640 179TH ST., HAMMOND, IN, 46323,
  Principal Office Address:                                                      Expiration Date: Perpetual
                              USA
                                                                       Business Entity Report Due
  Jurisdiction of Formation: Indiana                                                              04/30/2022
                                                                                            Date:

                                                                                     Years Due:

Governing Person Information

Title               Name                      Address
President           Irmantas Zilys            3640 179TH ST., Hammond, IN, 46323, USA

Incorporators Information

Name                          Title          Address
IRMANTAS ZILYS                Incorporator   8300 BROADWAY, UNIT D1-A, MERRILLVILLE, IN, 46410, USA

Registered Agent Information
                     Type: Individual
                    Name: IRMANTAS ZILYS
                   Address: 3640 179TH ST., HAMMOND, IN, 46323, USA
Case: 1:21-cv-05628 Document #: 1-1 Filed: 10/22/21 Page 47 of 49 PageID #:54




                      Exhibit D
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                                                                   of Michigan Corporations of 49 PageID #:55

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       ID Number: 801991971                                           Request certificate       Return to Results   New search

       Summary for: ZOKAR LOGISTICS INC.

       The name of the DOMESTIC PROFIT CORPORATION:                ZOKAR LOGISTICS INC.




       Entity type:   DOMESTIC PROFIT CORPORATION

       Identification Number: 801991971 Old ID Number: 07410X


      Date of Incorporation in Michigan:       04/03/2017


      Purpose: All Purpose Clause


      Term:    Perpetual


      Most Recent Annual Report:       2019                       Most Recent Annual Report with Officers & Directors:           2018


       The name and address of the Resident Agent:
       Resident Agent Name:            SADEK NAJI ALZOKARI
       Street Address:                 1999 TROWBRIDGE ST
       Apt/Suite/Other:

       City:                            HAMTRAMCK                      State: MI                    Zip Code:   48212

       Registered Office Mailing address:
       P.O. Box or Street Address:
       Apt/Suite/Other:
       City:                                                           State:                       Zip Code:




      The Officers and Directors of the Corporation:

       Title                    Name                                        Address
       PRESIDENT                SADEK NAJI ALZOKARI                         1999 TROWBRIDGE HAMTRAMCK, MI 48212 USA
       TREASURER                SADEK NAJI ALZOKARI                         1999 TROWBRIDGE HAMTRAMCK, MI 48212 USA
       SECRETARY                SADEK NAJI ALZOKARI                         1999 TROWBRIDGE HAMTRAMCK, MI 48212 USA
       DIRECTOR                 SADEK NAJI ALZOKARI                         1999 TROWBRIDGE HAMTRAMCK, MI 48212 USA


      Act Formed Under:       284-1972 Business Corporation Act


      Total Authorized Shares: 60,000


         Written Consent




      View filings for this business entity:

https://cofs.lara.state.mi.us/CorpWeb/CorpSearch/CorpSummary.aspx?token=nBxILn58HwVtv4JMRDwTm1cWblopjmzIgq3FCQzRMH7Z0mRAdeXC1… 1/2
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                                                                  of Michigan Corporations of 49 PageID #:56
       ALL FILINGS
       ANNUAL REPORT/ANNUAL STATEMENTS
       ARTICLES OF INCORPORATION
       RESTATED ARTICLES OF INCORPORATION
       RESTATED ARTICLES OF INCORPORATION
       RESTATED ARTICLES OF INCORPORATION
       View filings



      Comments or notes associated with this business entity:




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